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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS



 IN RE PETITION OF                                 No.
 JILL LEPORE



                          DECLARATION OF NOAM CHOMSKY

I, NOAM CHOMSKY, declare as follows:

       1.      I submit this declaration in support of the above-captioned petition to unseal the

records of the federal grand juries convened in April and August 1971 in Boston to investigate

the distribution of the Pentagon Papers.

       2.      In 1971, two FBI agents came to my home to question me about the leak of the

Pentagon Papers and my connection with Daniel Ellsberg. Once the agents revealed the purpose

of their visit, I declined to talk. Ellsberg and I were friends, and he had provided me with a copy

of the Pentagon Papers. I was distributing the documents to different media outlets while

Ellsberg hid underground after his name was revealed as the likely source of the leak.

       3.      After the FBI visit, I was subpoenaed to appear before the grand jury in Boston.

However, due to prosecutorial error, the presiding judge, Judge Wendell Arthur Garrity, excused

me from testifying.

       4.      I fully support the release of the grand jury records in this case as I believe they

contain information that should be made available to the public.

       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.
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Executed on Nov. 12, 2018, in Tucson, Arizona.


                                                 /s/ Noam Chomsky
                                                 Noam Chomsky




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